Case 1:20-cr-00432-JMF Document 18 Filed 12/29/20 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

— e—e ee De eee ea ea ea ea ee se se xX
UNITED STATES OF AMERICA :
: ORDER

-v. - :

: 20 CR 432 (JMF)
YAUREL CENTENO, :
Defendant. :
— eee ee ee ea ea ea ea ea ea eee xX

Upon the application of the parties, it is hereby

ORDERED that the conference scheduled for January 11, 2021 is
adjourned to February 11 , 2021 at = 2:15 p.m. ; and

FURTHER ORDERED that time is excluded under the Speedy Trial
Act between today and February 11 , 2021; the Court finds that
the ends of justice served by excluding such time outweighs the
interests of the defendant and the public in a speedy trial because
of the interests of the defendant in considering a pre-trial
disposition amidst the circumstances of the ongoing national
emergency declared over the coronavirus pandemic.

SO ORDERED

Dated: New York, New York
December 29 , 2020

THE HON BLE JESSE M. FURMAN
UNITED S toons DISTRICT JUDGE
SOUTHERN DISTRICT OF NEW YORK

The Clerk of Court is directed to terminate ECF No. 17.
